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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY



  IN RE: JOHNSON & JOHNSON                         MDL No. 3:16-md-02738-MAS-RLS
  TALCUM POWDER PRODUCTS
  MARKETING, SALES PRACTICES,
  AND PRODUCTS LIABILITY
  LITIGATION

  This Document Relates To All Cases:




   NOTICE OF MOTION TO STRIKE REBUTTAL EXPERT REPORT OF
                   DR. ELIZABETH STUART

      PLEASE TAKE NOTICE that on September 3, 2024, the undersigned

counsel will bring Defendants Johnson & Johnson and LLT Management, LLC

(“Defendants”)’s Motion to Strike Rebuttal Expert Report of Dr. Elizabeth Stuart

before this Court. Defendants will ask for entry of an order that strikes the expert

report of Dr. Elizabeth Stuart in full.

      PLEASE TAKE FURTHER NOTICE that in support of their motion,

   Defendants shall rely upon the Brief submitted herewith and the Declaration of

   Susan M. Sharko, Esq., together with exhibits; and

      PLEASE TAKE FURTHER NOTICE that a proposed Order is submitted

   herewith; and
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      PLEASE TAKE FURTHER NOTICE that oral argument is requested

   if opposition is filed.



  Dated: July 30, 2024               Respectfully submitted,

                                     /s/ Susan M. Sharko
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